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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                 Judge William J. Martínez

   Date:             December 4, 2018
   Courtroom Deputy: Emily Buchanan
   Court Reporter:   Mary George


    Civil Action No. 13-cv-01945-WJM-SKC                   Counsel:

    TYLER SANCHEZ,                                         John Culver
                                                           Adam Ray
                                                           Seth Benezra

           Plaintiff,

    v.

    MIKE DUFFY, Detective, in his individual capacity,     Kelly Dunnaway
    and                                                    Gordon Vaughan
    HEATHER MYKES, Detective, in her individual            Dawn Johnson
    capacity,                                              Megan Taggart

          Defendants.


                                    COURTROOM MINUTES


   Jury Trial: Day Seven

   8:49 a.m.      Court in session. Jury not present.

   Mr. Culver moves to admit into evidence Plaintiff’s Exhibit 260.

   Plaintiff’s Exhibit 260 received.

   8:52 a.m.      Jury present.

   Plaintiff’s witness, Iris Eytan, resumes.

   8:54 a.m.      Continued cross examination of Ms. Eytan by Ms. Johnson.

   Plaintiff’s Exhibit 229 received.
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   9:46 a.m.      Redirect examination of Ms. Eytan by Mr. Culver.

   Plaintiff’s Exhibit 99 received.

   9:57 a.m.      Recross examination of Ms. Eytan by Ms. Johnson.

   Plaintiff’s witness, Cynthia Sanchez, sworn.

   9:59 a.m.      Direct examination of Ms. Sanchez by Mr. Culver.

   10:14 a.m.     Jury excused.

   Counsel agree not to call witness Janelle McDonald.

   10:16 a.m.     Court in recess.
   10:40 a.m.     Court in session. Jury present.

   Plaintiff’s witness, Cynthia Sanchez, resumes.

   10:40 a.m.     Cross examination of Ms. Sanchez by Ms. Johnson.

   Plaintiff’s Exhibit 98 received.

   11:06 a.m.     Deposition of Cynthia Selby Sanchez – Volume II opened and used for
                  impeachment.

   11:08 a.m.     Continued cross examination of Ms. Sanchez by Ms. Johnson.

   11:10 a.m.     Redirect examination of Ms. Sanchez by Mr. Culver.

   Plaintiff’s witness, Anne Curry, sworn.

   11:16 a.m.     Direct examination of Ms. Curry by Mr. Culver.

   Plaintiff rests.

   11:31 a.m.     Jury excused.

   11:33 a.m.     Argument by Mr. Vaughan regarding Defendants’ Oral Motion Under Fed.
                  R. Civ. P. 50(a) for Judgment as a Matter of Law.

   12:10 p.m.     Argument by Mr. Dunnaway regarding Defendants’ Oral Motion Under
                  Fed. R. Civ. P. 50(a) for Judgment as a Matter of Law.

   12:31 p.m.     Court in recess.
   1:33 p.m.      Court in session. Jury not present.


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   1:34 p.m.    Response to Defendants’ Motion by Mr. Culver.

   1:56 p.m.    Reply by Mr. Vaughan.

   2:01 p.m.    Reply by Mr. Dunnaway.

   ORDERED: Defendants’ Oral Motion Under Fed. R. Civ. P. 50(a) for Judgment as a
            Matter of Law is TAKEN UNDER ADVISEMENT.

   2:04 p.m.    Argument by Mr. Culver regarding Plaintiff’s Oral Motion Under Fed. R.
                Civ. P. 50(a) for Judgment as a Matter of Law.

   2:07 p.m.    Response to Plaintiff’s Motion by Mr. Dunnaway.

   2:11 p.m.    Reply by Mr. Culver.

   ORDERED: Plaintiff’s Oral Motion Under Fed. R. Civ. P. 50(a) for Judgment as a
            Matter of Law is TAKEN UNDER ADVISEMENT.

   2:13 p.m.    Jury present.

   Defendants’ witness, Joseph Hartley, sworn.

   2:15 p.m.    Direct examination of Investigator Hartley by Mr. Vaughan.

   Plaintiff’s Exhibits 24, 27, and 22 received.

   3:14 p.m.    Court in recess.
   3:34 p.m.    Court in session. Jury present.

   Defendants’ witness, Joseph Hartley, resumes.

   3:34 p.m.    Continued direct examination of Investigator Hartley by Mr. Vaughan.

   4:11 p.m.    Cross examination of Investigator Hartley by Mr. Benezra.

   Plaintiff’s Exhibit 23 received.

   4:47 p.m.    Redirect examination of Investigator Hartley by Mr. Vaughan.

   4:48 p.m.    Deposition of Joseph Ryan Hartley opened and used to refresh
                recollection.

   4:49 p.m.    Continued redirect examination of Investigator Hartley by Mr. Vaughan.

   Defendants’ witness, Cheryl Layne, sworn.


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   4:56 p.m.     Direct examination of Ms. Layne by Mr. Dunnaway.

   Plaintiff’s Exhibit 274 received.

   5:02 p.m.     Cross examination of Ms. Layne by Mr. Culver.

   Plaintiff’s Exhibit 275 received.

   5:09 p.m.     Redirect examination of Ms. Layne by Mr. Dunnaway.

   Court instructs jurors. Jurors excused until December 5, 2018 at 8:45 a.m.

   5:11 p.m.     Jury excused.

   Defendants intend to call four witnesses tomorrow. At this point in time, plaintiff does
   not intend to call rebuttal witnesses.

   5:12 p.m.     Court in recess.

   Trial continued.
   Total in-court time: 6:37




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